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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

    KEVIN MILLER                                        §
                                                        §
              Plaintiff,                                §
                                                        §
    VS.                                                 §      Case No. 4:13CV32
                                                        §
    TEXOMA MEDICAL CENTER, INC.                         §
    and UNIVERSAL HEALTH                                §
    SERVICES, INC.                                      §
                                                        §
              Defendants.                               §

                                          FINAL JUDGMENT

              Pursuant to the Memorandum Opinion and Order of United States Magistrate Judge filed

    in this matter, it is hereby

              CONSIDERED, ORDERED and ADJUDGED that the above titled and numbered cause

.   of action is DISMISSED with prejudice, and Plaintiff shall take nothing by his claims.

              This matter shall be closed on the Court’s docket, and Defendant is awarded its costs

    herein.

              SO ORDERED.

              SIGNED this 21st day of September, 2015.

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                                                   ____________________________________
                                                   DON D. BUSH
                                                   UNITED STATES MAGISTRATE JUDGE
